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                    UNITED STATES BANKRUPTCY COURT
            WESTERN DISTRICT OF MICHIGAN DISTRICT OF MICHIGAN
                         GRAND RAPIDS DIVISION

In re: ANDREA J AVERILL                      §       Case No. 14-04375
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Brett N. Rodgers, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 06/26/2014.

       2) The plan was confirmed on 10/28/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          06/15/2017, 04/20/2018.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on 05/12/2015, 06/03/2016, 04/21/2017.

       5) The case was completed on 04/17/2018.

       6) Number of months from filing or conversion to last payment: 45.

       7) Number of months case was pending: 48.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $22,466.90.

       10) Amount of unsecured claims discharged without full payment: $16,939.30.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor(s)           $ 92,880.79
      Less amount refunded to debtor(s)                     $ 36,860.48
NET RECEIPTS                                                                    $ 56,020.31



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                 $ 2,705.10
       Court Costs                                                $ 0.00
       Trustee Expenses & Compensation                       $ 3,307.14
       Other                                                      $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                  $ 6,012.24

Attorney fees paid and disclosed by debtor(s):               $ 1,315.00



Scheduled Creditors:
Creditor                                        Claim       Claim       Claim    Principal      Interest
Name                               Class    Scheduled    Asserted    Allowed         Paid          Paid
CORWIN LAW & CONSULTING PLC        Lgl       3,000.00    4,020.10    4,020.10    2,705.10          0.00
CHOICE ONE BANK                    Sec       3,726.00        0.00        0.00        0.00          0.00
FIFTH THIRD MORTGAGE               Sec      72,716.00   72,426.17   72,426.17        0.00          0.00
WELLS FARGO BANK NA                Sec      14,574.00   14,336.61   14,336.61   14,336.61      1,660.17
DEPARTMENT OF TREASURY             Pri       2,547.87         NA          NA         0.00          0.00
INTERNAL REVENUE SERVICE           Pri      10,131.47    8,919.06    8,919.06    8,919.06          0.00
INTERNAL REVENUE SERVICE           Uns           0.00    3,517.98    3,517.98    3,517.98        139.29
MICHIGAN DEPT OF TREASURY          Sec       2,772.28      606.68      606.68      606.68          0.00
MICHIGAN DEPT OF TREASURY          Uns           0.00       50.00       50.00       50.00          1.91
AMERICAN DEBT MEDIATORS            Uns           0.00         NA          NA         0.00          0.00
ART VAN FURNITURE                  Uns       2,079.00         NA          NA         0.00          0.00
BANK OF AMERICA                    Uns       3,518.00         NA          NA         0.00          0.00
CHASE BANK USA                     Uns       2,975.00         NA          NA         0.00          0.00
DANIEL RUDD                        Uns         506.00      662.08      662.08      662.08         26.23
DISCOVER FINANCIAL SERVICES        Uns       3,584.00         NA          NA         0.00          0.00
DISCOVER BANK                      Uns      11,841.00   11,841.03   11,841.03   11,841.03        461.54
FIA CARD SERVICES                  Uns       3,518.59         NA          NA         0.00          0.00
FOUNTAIN HILL CENTER               Uns         131.50         NA          NA         0.00          0.00



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Scheduled Creditors:
Creditor                                      Claim      Claim      Claim      Principal   Interest
Name                              Class   Scheduled   Asserted   Allowed           Paid       Paid
MERCY GENERAL HEALTH              Uns        813.21        NA         NA           0.00       0.00
RANDY FLODD                       Uns        134.00        NA         NA           0.00       0.00
ROGERS & HOLLANDS JEWELERS        Uns      6,812.23   7,493.48   7,493.48      7,493.48     292.01
SPECTRUM HEALTH                   Uns        134.00        NA         NA           0.00       0.00
SPECTRUM HEALTH                   Uns         52.00        NA         NA           0.00       0.00
DANIEL RUDD                       Pri          0.00        NA         NA           0.00       0.00
CLERK OF THE COURT                Adm        310.00     310.00     310.00          0.00       0.00




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Summary of Disbursements to Creditors:

                                              Claim              Principal     Interest
                                              Allowed            Paid          Paid
Secured Payments:
      Mortgage Ongoing                       $ 72,426.17              $ 0.00        $ 0.00
      Mortgage Arrearage                           $ 0.00             $ 0.00        $ 0.00
      Debt Secured by Vehicle                $ 14,336.61        $ 14,336.61    $ 1,660.17
      All Other Secured                         $ 606.68           $ 606.68         $ 0.00
TOTAL SECURED:                               $ 87,369.46        $ 14,943.29    $ 1,660.17

Priority Unsecured Payments:
        Domestic Support Arrearage                 $ 0.00             $ 0.00       $ 0.00
        Domestic Support Ongoing                   $ 0.00             $ 0.00       $ 0.00
        All Other Priority                    $ 8,919.06         $ 8,919.06        $ 0.00
TOTAL PRIORITY:                               $ 8,919.06         $ 8,919.06        $ 0.00

GENERAL UNSECURED PAYMENTS:                  $ 23,564.57        $ 23,564.57     $ 920.98



Disbursements:

       Expenses of Administration             $ 6,012.24
       Disbursements to Creditors            $ 50,008.07

TOTAL DISBURSEMENTS:                                            $ 56,020.31




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        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 07/10/2018                        By: /s/ Brett N. Rodgers
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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